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Eastern District of Kentucky
FILED
UNITED STATES DISTRICT COURT APR 27 2023
EASTERN DISTRICT OF KENTUCKY ATLONDON
SOUTHERN DIVISION CLERK US. DISTRICT COURT
LONDON
UNITED STATES OF AMERICA
V. INDICTMENT NO. &: 23- Cy O177REW
MUFID ELFGEEH
xk * * *
THE GRAND JURY CHARGES:

On or about January 15, 2019, in McCreary County, in the Eastern District of
Kentucky, within the boundaries of United States Penitentiary McCreary, an area within
the special maritime and territorial jurisdiction of the United States,

MUFID ELFGEEH
did attempt to murder A.J.W.., all in violation of 18 U.S.C. § 1113.

A TRUE BILL

AY. Ss cK OREPERSON

CARLTON S. SHIER, IV
UNITED STATES ATTORNEY

 
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PENALTIES

Not more than 20 years imprisonment, not more than a $250,000 fine, and not more than
3 years supervised release.

PLUS: Mandatory special assessment of $100 per count.

PLUS: Restitution, if applicable.
